Case 1:17-cv-02738-MKB-JO Document 603 Filed 10/20/17 Page 1 of 3 PageID #: 16415




                                            +1-212-474-1058

                                          pbarbur@cravath.com



                                                                                 October 20, 2017

                         B & R Supermarket, Inc., et al. v. Visa Inc., et al.,
                               Case No. 1:17-cv-02738-MKB-JO

     Dear Judge Orenstein:

                     Pursuant to the Court’s request at the October 13, 2017 status conference,
     Defendants American Express, Discover, MasterCard, and Visa (collectively,
     “Defendants”) respectfully submit this letter regarding the relationship between
     Plaintiffs’ claims before this Court and Plaintiffs’ claims against American Express that
     were transferred to the Southern District of New York.

     I. Procedural History

                     This case was filed by Plaintiffs B & R Supermarket, Inc. (d/b/a Milam’s
     Market) and Grove Liquors LLC, Strouk Group LLC (d/b/a Monsieur Marcel), Palero
     Food Corp. and Cagueyes Food Corp. (d/b/a Fine Fare Supermarket) (collectively,
     “Plaintiffs”)1 against Defendants in the Northern District of California before the
     Honorable Judge William Alsup. Based on forum-selection provisions in American
     Express’s agreements with merchants who accept its cards for payment (“Card
     Acceptance Agreements”), Judge Alsup severed all claims by Plaintiffs B & R
     Supermarket and Monsieur Marcel against American Express and transferred them to the
     Southern District of New York. (Order Grant’g Mot. to Trans., June 24, 2016, Dkt No.
     282; Order Grant’g Unopposed Mot. to Trans., Nov. 9, 2016, Dkt No. 358.) This left
     Fine Fare—the only Plaintiff that does not accept American Express cards, and therefore,
     does not have an agreement with American Express—as the sole Plaintiff with claims
         1
           B & R Supermarket and Grove Liquors operate under a single account with
     American Express (see Dkt No. 282 at 2), and are collectively referred to as “B & R
     Supermarket”. Palero and Cagueyes both do business as Fine Fare Supermarket and are
     referred to as “Fine Fare”.
Case 1:17-cv-02738-MKB-JO Document 603 Filed 10/20/17 Page 2 of 3 PageID #: 16416
                                                                                                2


     against American Express in the Northern District of California. Thus, at the time Judge
     Alsup transferred this action to the Eastern District of New York (see Order Grant’g Mot.
     to Trans., May 4, 2017, Dkt No. 518), the only claims remaining against American
     Express were the class claims brought by Fine Fare. All other claims against American
     Express are in the Southern District of New York.

                     All claims against American Express by merchants that accept American
     Express cards are now in the Southern District of New York. These are the claims
     brought by B & R Supermarket and Monsieur Marcel against American Express, on
     behalf of a class of merchants that accept American Express Cards, and who are subject
     to the forum-selection and arbitration provisions in American Express’s Card Acceptance
     Agreements. (Dkt Nos. 282, 358.) These include both claims for American Express’s
     alleged liability for its own EMV-related fraud chargebacks, and claims for American
     Express’s alleged joint and several liability for the EMV-related fraud chargebacks
     allegedly imposed by Visa, MasterCard, and Discover. Fine Fare, which does not accept
     American Express, seeks to hold all four networks jointly and severally liable for fraud
     chargebacks allegedly imposed by Visa, MasterCard and Discover. To be clear, all
     claims for Visa’s, MasterCard’s, and Discover’s alleged liability for EMV-related fraud
     chargebacks from all four networks, including American Express, remain in the Eastern
     District. American Express is the only defendant in the Southern District.

                   In sum, this action now includes (i) claims brought on behalf of merchants
     who accept American Express cards asserting joint and several liability against only Visa,
     MasterCard, and Discover; and (ii) claims brought on behalf of merchants who do not
     accept American Express cards asserting joint and several liability against all
     Defendants—Visa, MasterCard, American Express, and Discover.

     II. Class Certification Issues

                    Clarifying which of Plaintiffs’ claims against American Express remain in
     this Court sheds light on two fundamental issues with Plaintiffs’ proposed class, both of
     which are consequences of Plaintiffs’ unsupported and overbroad class definition. (See
     Defs.’ Suppl. Class Cert. Opp. Letter, Sept. 9, 2017, Dkt. No. 588.)

                     First, Plaintiffs’ proposed class is overbroad because it captures the claims
     of B & R Supermarket and Monsieur Marcel against American Express, which cannot be
     brought in this Court. Because B & R Supermarket and Monsieur Marcel accept
     American Express and have Card Acceptance Agreements with American Express, their
     claims can proceed only in the Southern District. (See American Express’s Opp. to Pl’s
     Mot. for Class Cert., Apr. 7, 2017, Dkt. No. 463 at 2; Dkt. No. 588 at 5 n.2.) The
     proposed class is similarly problematic because it includes claims by Fine Fare against
     American Express on behalf of a putative class that includes American Express-accepting
     merchants. (Dkt No. 463 at 2.) Fine Fare cannot assert claims on behalf of American
     Express-accepting merchants in this Court because it does not accept American Express,
     does not have a Card Acceptance Agreement with American Express, and because those
     merchants’ claims must proceed in the Southern District.
Case 1:17-cv-02738-MKB-JO Document 603 Filed 10/20/17 Page 3 of 3 PageID #: 16417
                                                                                                      3


                     Second, American Express’s position is that California and Florida state
     law classes against it cannot be certified because there are no appropriate class
     representatives with claims against American Express in this case. Fine Fare—the only
     named Plaintiff with claims against American Express—is a New York business with no
     interest in these state law claims, and it therefore fails the typicality requirement. (Id. at
     3.)

                    The two issues described above provide further grounds for denying
     Plaintiffs’ Motion for Class Certification.

                                                          Respectfully,

                                                          /s/ Peter T. Barbur

                                                          Peter T. Barbur
                                                          Damaris Hernández


     The Honorable James Orenstein
        U.S. District Court for the Eastern District of New York
           225 Cadman Plaza East, Room 1227 South
               Brooklyn, NY 11201

     VIA ECF
